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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ENVIRONMENTAL DEFENSE FUND,
 257 Park Ave. S.
 New York, NY 10010,

        Plaintiff,

 v.

 U.S. DEPARTMENT OF THE INTERIOR,
 1849 C Street, NW                                   Civil Action No.
 Washington, DC 20240,

 COUNCIL ON ENVIRONMENTAL
 QUALITY,                                            COMPLAINT FOR DECLARATORY
 730 Jackson Place, NW                               AND INJUNCTIVE RELIEF
 Washington, DC 20503,

 and

 NATIONAL OCEANIC AND
 ATMOSPHERIC ADMINISTRATION,
 1401 Constitution Ave., NW, Room 5128
 Washington, DC 20230,

        Defendants.


       In 2009, the Environmental Protection Agency (“EPA”) issued the “Endangerment

Finding,” a determination that greenhouse gases (“GHGs”) in the atmosphere threaten the public

health and welfare of current and future generations, and that emissions from motor vehicles

contribute to the GHG pollution that threatens public health and welfare. The Endangerment

Finding is grounded in extensive scientific evidence and is foundational to efforts to reduce GHG

pollution. In a January 20, 2025 Executive Order, President Trump directed the EPA

Administrator to assess the “legality and continuing applicability” of the Finding, “in

collaboration with the heads of any other relevant agencies.” On March 12, 2025, EPA



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announced that it will formally reconsider the Finding. This “reconsideration” may destabilize

the Finding, constraining EPA’s ability to reduce climate pollution and causing significant,

harmful consequences for communities across the country, who are already experiencing the

devastating effects of climate change.

       To bring greater transparency regarding the new administration’s directive to EPA and

other agencies to assess the Endangerment Finding, Plaintiff Environmental Defense Fund

(“EDF”) submitted requests under the Freedom of Information Act (“FOIA”) to the Department

of the Interior (“DOI”), the Council on Environmental Quality (“CEQ”), and the National

Oceanic and Atmospheric Administration (“NOAA”) (collectively, the “Agencies”). Those

requests (the “FOIA Requests”) sought correspondence and records relating to the Endangerment

Finding, including correspondence and records of the Agencies’ transition team members and

political appointees. The Agencies failed to produce records or make determinations on EDF’s

requests by the statutory deadlines for doing so, violating EDF’s rights under FOIA and

depriving the public of vital records of clear and immediate public interest.

                                         INTRODUCTION

       1.      EDF files this action to enforce the Agencies’ statutory obligations under FOIA,

5 U.S.C. § 552.

       2.      On January 20, 2025, President Trump signed an Executive Order titled

“Unleashing American Energy” (the “Executive Order”) in which he directed the EPA

Administrator, “in collaboration with the heads of any other relevant agencies,” to “submit joint

recommendations to the Director of [the Office of Management and Budget (“OMB”)] on the

legality and continuing applicability” of the Endangerment Finding. See Unleashing American




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Energy, Exec. Order § 6(f) (Jan. 20, 2025), https://www.whitehouse.gov/presidential-

actions/2025/01/unleashing-american-energy/.

        3.     The Endangerment Finding is a determination issued by EPA in 2009 that is

comprised of two separate findings under Section 202(a) of the Clean Air Act: first, that six

GHGs in the atmosphere, including carbon dioxide and methane, threaten the public health and

welfare of current and future generations; and second, that the combined emissions of these

GHGs from motor vehicles contribute to the GHG pollution that threatens public health and

welfare. See Endangerment and Cause or Contribute Findings for Greenhouse Gases Under

Section 202(a) of the Clean Air Act, 74 Fed. Reg. 66,496 (Dec. 15, 2009); see also 42 U.S.C.

§ 7521(a).

        4.     The Endangerment Finding is grounded in extensive scientific evidence, and

challenges to its validity have been repeatedly rejected in court and by EPA. It underpins EPA’s

efforts to set standards to reduce harmful climate pollution and supports numerous pollution-

reducing programs for the power sector, the oil and gas industry, and the motor vehicle sector.

These programs have delivered critical pollution reduction benefits to Americans across the

country.

        5.     On March 12, 2025, EPA publicly announced that it will reconsider the

Endangerment Finding. This reconsideration threatens to undermine or destabilize the Finding,

putting EPA’s climate pollution reduction programs—and the important benefits they deliver—at

risk.

                                       DOI FOIA Request

        6.     On February 3, 2025, EDF submitted a FOIA request to DOI (“DOI FOIA

Request”) seeking all correspondence and records of DOI transition team members and political




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appointees relating to the Endangerment Finding. Ex. A at 1-2 (Letter from Erin Murphy, EDF,

to National Freedom of Information Officer, DOI). That same day, EDF received an email from

DOI acknowledging receipt of the DOI FOIA Request. Ex. B (Email from DOI FOIA Office to

Erin Murphy, EDF).

       7.       On February 11, 2025, EDF received a letter from DOI (dated February 10, 2025)

claiming a 10-workday extension of time to issue a determination on the DOI FOIA request. Ex.

C at 3 (Letter from Sabrina Conway, DOI, to Erin Murphy, EDF). FOIA permits an agency to

claim a 10-workday extension of its response deadline in “unusual circumstances.” 5 U.S.C.

§ 552(a)(6)(B)(i).

       8.       Under FOIA, with the 10-workday extension, DOI had 30 working days—until

March 18, 2025—to make a determination on the DOI FOIA Request. See 5 U.S.C.

§ 552(a)(6)(A)(i), (a)(6)(B)(i); 43 C.F.R. §§ 2.16(a), 2.19.

       9.       To date, EDF has not received DOI’s determination on the DOI FOIA Request

and has not received any requested records, in violation of FOIA’s statutory deadlines and

requirements.

                                       CEQ FOIA Request

       10.      On February 3, 2025, EDF submitted a FOIA request to CEQ (“CEQ FOIA

Request”) seeking all correspondence and records of CEQ transition team members and political

appointees relating to the Endangerment Finding. Ex. D at 1-2 (Letter from Erin Murphy, EDF,

to National Freedom of Information Officer, CEQ). On February 11, 2025, EDF received an




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email from CEQ acknowledging receipt of the CEQ FOIA Request. Ex. E (Email from Adrianne

Day, CEQ, to Erin Murphy, EDF).

        11.     Under FOIA, CEQ had 20 working days to make a determination on the FOIA

Request. See 5 U.S.C. § 552(a)(6)(A)(i); 40 C.F.R. § 1515.6(a) (2024). 1 CEQ’s February 11

email did not state the date on which it received the CEQ FOIA Request. However, even if CEQ

did not receive the request until February 11, 2025, over a week after EDF sent the request, its

statutory deadline to make a determination on the CEQ FOIA Request lapsed on March 12,

2025.

        12.     To date, EDF has not received CEQ’s determination on the CEQ FOIA Request

and has not received any requested records, in violation of FOIA’s statutory deadline and

requirements.

                                      NOAA FOIA Request

        13.     On February 3, 2025, EDF submitted a FOIA request to NOAA (“NOAA FOIA

Request”) seeking records related to the development of “joint recommendations” regarding the

Endangerment Finding and all correspondence and records of NOAA transition team members

and political appointees relating to the Endangerment Finding. Ex. F at 1-2 (Letter from Erin

Murphy, EDF, to National Freedom of Information Officer, NOAA). That same day, EDF

received two emails from NOAA acknowledging receipt of the NOAA FOIA Request and

updating the request status to “received.” Ex. G (February 3, 2025 Emails from NOAA to Erin

Murphy, EDF).




1
 CEQ revised its FOIA regulations in early 2025, with the revisions effective February 20, 2025.
90 Fed. Reg. 6828, 6828 (Jan. 21, 2025). EDF submitted the CEQ FOIA Request prior to that
date and accordingly cites to the 2024 version of the CEQ FOIA regulations in this complaint.


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       14.     Under FOIA, NOAA had 20 working days—until March 4, 2025—to make a

determination on the FOIA Request. See 5 U.S.C. § 552(a)(6)(A)(i); 15 C.F.R. § 4.6(b).

       15.     On March 5, 2025, one workday past the statutory deadline, EDF received a letter

from NOAA again acknowledging receipt of the NOAA FOIA Request—but claiming the

request was received on February 4, 2025. Ex. H at 1 (Letter from Ana Liza Malabanan, NOAA,

to Erin Murphy, EDF). Despite having missed the statutory deadline, NOAA asserted it was

claiming a 10-workday extension of time to issue a determination on the NOAA FOIA Request.

Id. at 1-2. FOIA permits an agency to claim a 10-workday extension of its response deadline in

“unusual circumstances.” 5 U.S.C. § 552(a)(6)(B)(i). Under FOIA, even if NOAA had timely

invoked its opportunity to take a 10-workday extension, its deadline to make a determination on

the NOAA FOIA Request was March 18, 2025. However, NOAA stated it anticipated

responding to EDF’s request by March 19, 2025.

       16.     To date, EDF has not received NOAA’s determination on the NOAA FOIA

Request and has not received any requested records, in violation of FOIA’s statutory deadlines

and requirements.

                                Importance of the FOIA Requests

       17.     The public, including EDF and its members, has a strong interest in any records

related to the current administration’s recommendations and actions to reverse or undermine the

Endangerment Finding. The Agencies collaborate closely and regularly with EPA regarding vital

pollution-reduction programs that rely on the Endangerment Finding, and these programs are

providing enormous benefits in communities across the country.

       18.     Knowledge of the extent and nature of communications with the Agencies’

transition team members, political appointees, and outside stakeholders is critical for EDF, its




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members, and the public to understand the Agencies’ decisions relating to any reassessment of

the Endangerment Finding in collaboration with EPA. The Agencies’ current actions have been

completely lacking in transparency, in contrast with the extensive public process that EPA

undertook to develop and adopt the Endangerment Finding. EDF submitted the FOIA Requests

to bring transparency to the Agencies’ actions.

       19.     EDF requested information from the Agencies in order to disseminate that

information to EDF’s members, supporters, and the general public. EDF has communicated on

these issues in the past, including recently. Peter Zalzal, Danger ahead: the Trump

administration’s attack on EPA’s finding that climate pollution harms public health, EDF

(Feb. 14, 2025), https://blogs.edf.org/climate411/2025/02/14/danger-ahead-the-trump-

administrations-attack-on-epas-finding-that-climate-pollution-harms-public-health/. EDF also

plans to use its expertise to analyze the records and help the public understand their significance.

       20.     The Agencies are unlawfully withholding and unreasonably delaying the release

of records requested by EDF and to which EDF is lawfully entitled under FOIA, despite the

records’ clear salience to current agency actions with grave implications for public health and

welfare.

       21.     EDF seeks declaratory and injunctive relief declaring that CEQ, DOI, and NOAA

have violated FOIA and an order compelling each agency to promptly release all requested

records.

                                JURISDICTION AND VENUE

       22.     This Court has jurisdiction over this action pursuant to FOIA, which vests

jurisdiction in the U.S. District Court for the District of Columbia. 5 U.S.C. § 552(a)(4)(B). This




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Court also has jurisdiction pursuant to 28 U.S.C. § 1331 because this action arises under FOIA, a

federal statute.

        23.        Injunctive relief is appropriate under FOIA. 5 U.S.C. § 552(a)(4)(B). Declaratory

relief is appropriate under the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.

        24.        Venue is proper in this judicial district pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).

                                                PARTIES

        25.        Plaintiff EDF is a 501(c)(3) non-profit environmental organization dedicated to

finding practical solutions to critical environmental problems through the use of law, policy,

science, and economics. EDF has offices throughout the United States, including in the District

of Columbia.

        26.        EDF engages in extensive, daily efforts to inform the public about matters

affecting environmental and energy policy, as well as about climate change science and the

human health impacts of pollution. EDF has multiple channels for distributing information to the

public, including through direct communication with its more than three million members and

supporters, press releases, blog posts, and active engagement on social media. EDF is frequently

called upon to share its expertise on important environmental issues in the popular media and in

other public forums.

        27.        EDF has long advocated for measures to protect communities from the harmful

effects of climate change, including EPA pollution reduction programs that the Endangerment

Finding supports. For example, EDF has advocated for and supported standards to reduce

climate pollution from large sources such as power plants, cars and trucks, and oil and gas

operations. These standards have been successful in reducing harmful climate pollution.




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       28.     EDF is injured by the Agencies’ failure to timely produce public records that were

properly requested and to which EDF is entitled under FOIA. See Zivotofsky v. Sec’y of State,

444 F.3d 614, 617-18 (D.C. Cir. 2006) (“The requester is injured-in-fact for standing purposes

because he does not get what the statute entitles him to receive.”).

       29.     Defendant DOI is an executive department of the United States and is therefore an

“agency” within the meaning of 5 U.S.C. § 552(f)(1) and is subject to FOIA. DOI has possession

and control of the requested records and is responsible for fulfilling the DOI FOIA Request.

       30.     Defendant CEQ is an establishment in the executive branch of the United States

government and is therefore an “agency” within the meaning of 5 U.S.C. § 552(f)(1) and is

subject to FOIA. CEQ has possession and control of the requested records and is responsible for

fulfilling the CEQ FOIA Request

       31.     Defendant NOAA is an establishment in the executive branch of the United States

government under the Department of Commerce and is therefore an “agency” within the

meaning of 5 U.S.C. § 552(f)(1) and is subject to FOIA. NOAA has possession and control of

the requested records and is responsible for fulfilling the NOAA FOIA Request.

                                       LEGAL BACKGROUND

       32.     FOIA requires a federal agency to make public records “promptly available”—

subject to enumerated exemptions—to any person who makes a request that reasonably describes

the records sought and complies with the agency’s rules for making the request. 5 U.S.C.

§ 552(a)(3)(A).

       33.     FOIA requires the agency to issue a determination on a FOIA request within 20

working days from the date of receipt. Id. § 552(a)(6)(A)(i).




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        34.     The agency’s determination on a FOIA request shall contain (1) the agency’s

determination of whether to comply with the request and provide responsive records, (2) the

reasons for the agency’s determination, and (3) notice of the right of the requester to appeal an

adverse determination to the head of the agency. Id.

        35.     Mere notice of the agency’s receipt of the request does not suffice for a

“determination,” nor is it enough that “within the relevant time period, the agency simply decide

to later decide.” Citizens for Responsibility & Ethics in Wash. v. Fed. Election Comm’n,

711 F.3d 180, 186 (D.C. Cir. 2013). Instead, “the agency must at least inform the requester of the

scope of the documents that the agency will produce, as well as the scope of the documents that

the agency plans to withhold under any FOIA exemptions.” Id.

        36.     A FOIA requester may seek “expedited processing” of a request for records, and a

determination on a request for expedited processing must be made, and notice of that

determination provided to the requester, within 10 days of the date of the request. 5 U.S.C.

§ 552(a)(6)(E)(ii)(II).

        37.     FOIA allows the agency to extend the 20-working-day deadline by up to 10

additional working days for “unusual circumstances” by providing written notice to the requester

that describes the “unusual circumstances” and provides the date on which the determination is

expected to be issued. Id. § 552(a)(6)(B)(i).

        38.     If the agency fails to comply with FOIA’s statutory deadline for issuing a

determination on a request, the requester is deemed to have exhausted its administrative remedies

and may file suit against the agency. Id. § 552(a)(6)(C)(i).

        39.     Under FOIA, an agency shall waive or reduce fees and costs incurred in

responding to a FOIA request “if disclosure of the information is in the public interest because it




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is likely to contribute significantly to public understanding of the operation or activities of the

government and is not primarily in the commercial interest of the requester.” Id.

§ 552(a)(4)(A)(iii).

       40.     This Court interprets FOIA’s fee waiver provision to require that an agency’s

determination on a request for a fee waiver be made within the 20-working-day period. Pub.

Citizen, Inc. v. Dep’t of Educ., 292 F. Supp. 2d 1, 4 (D.D.C. 2003) (“[I]f the agency fails to

respond to a waiver request within 20 days, the requester is deemed to have constructively

exhausted administrative remedies and may seek judicial review.”).

       41.     The agency bears the burden to prove the legality of its actions under FOIA.

5 U.S.C. § 552(a)(4)(B).

       42.     FOIA grants jurisdiction to the court “to enjoin the agency from withholding

agency records and to order the production of any agency records improperly withheld from the

complainant.” Id.

       43.     Under FOIA, this Court may assess attorney fees and costs against the United

States if EDF substantially prevails in this action. Id. § 552(a)(4)(E).

                                   FACTUAL BACKGROUND

   A. Endangerment Finding

       44.     In 2009, EPA made two vital findings: first, that six GHGs in the atmosphere,

including carbon dioxide and methane, threaten the public health and welfare of current and

future generations; and second, that the combined emissions of these GHGs from motor vehicles

contribute to the GHG pollution that threatens public health and welfare. See Endangerment and

Cause or Contribute Findings for Greenhouse Gases Under Section 202(a) of the Clean Air Act,

74 Fed. Reg. 66,496 (Dec. 15, 2009), https://www.epa.gov/sites/default/files/2021-




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05/documents/federal_register-epa-hq-oar-2009-0171-dec.15-09.pdf. Together, these findings

are referred to as the “Endangerment Finding.”

       45.     The Endangerment Finding requires EPA to adopt standards to reduce GHG

pollution from motor vehicles, a significant contributor to overall GHG emissions in the United

States, and it likewise underpins EPA’s standards that reduce harmful climate pollution from

other sectors, including standards addressing emissions from the power sector and the oil and gas

sector. EPA’s GHG emissions reduction standards have been successful in reducing pollution

and delivering benefits to Americans across the country.

       46.     EPA adopted the Endangerment Finding after significant public process,

including multiple opportunities for the public to give input and EPA’s evaluation of more than

380,000 public comments. The Endangerment Finding is based on extensive scientific evidence

that climate pollution poses a grave threat to human health and welfare. That scientific evidence

has only become stronger in the more than 15 years since the Endangerment Finding was

adopted, with experts confirming that climate change resulting from GHG emissions is causing

extensive, and increasingly severe, harms throughout the country. See Letter from P. Zalzal et al.,

EDF, to Hon. Lee Zeldin, EPA, at 5-9 (Feb. 18, 2025), https://tinyurl.com/EDFLetter021825.

       47.     Parties have filed legal challenges to the Endangerment Finding in the past, but—

given the extensive evidence supporting the Endangerment Finding—EPA and the courts have

uniformly rejected those efforts. See, e.g., Coal. for Responsible Regulation v. EPA, 684 F.3d

102, 116, 126 (D.C. Cir. 2012) (rejecting challenges to the Endangerment Finding on multiple

grounds), rev’d in part on other grounds sub nom. Util. Air Reg. Grp. v. EPA, 573 U.S. 302

(2014); Endangerment and Cause or Contribute Findings for Greenhouse Gases Under Section

202(a) of the Clean Air Act; Final Action on Petitions, 87 Fed. Reg. 25,412 (Apr. 29, 2022);




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EPA’s Denial of the Petitions to Reconsider the Endangerment and Cause or Contribute Findings

for Greenhouse Gases Under Section 202(a) of the Clean Air Act, 75 Fed. Reg. 49,556 (Aug. 13,

2010).

         48.   Despite the long-standing nature of the Endangerment Finding, its extensive

scientific support, and its manifest legality, the Executive Order directed the EPA Administrator

to assess “the legality and continuing applicability” of the Endangerment Finding, “in

collaboration with the heads of any other relevant agencies.” See Exec. Order § 6(f).

         49.   In late February, it was reported that EPA had completed its assessment and

recommended a reversal of the Endangerment Finding. Jean Chemnick et al., EPA moves to ditch

finding that greenhouse gases cause harm, POLITICO (Feb. 26, 2025 3:23 PM),

https://www.politico.com/news/2025/02/26/epa-greenhouse-gases-00204866; Matthew Daly,

EPA head urges Trump to reconsider scientific finding that underpins climate action, AP sources

say, AP (Feb. 26, 2025 3:45 PM), https://apnews.com/article/epa-endangerment-finding-zeldin-

trump-climate-change-4b34246d5ca798154af08560fd94f7b9.

         50.   On March 12, 2025, EPA Administrator Zeldin announced that the agency will

formally reconsider the Endangerment Finding in collaboration with “other relevant agencies,”

accompanied by a statement from Secretary of the Interior Doug Burgum asserting a “vision for

energy dominance.” EPA Press Office, Trump EPA Kicks Off Formal Reconsideration of

Endangerment Finding with Agency Partners, EPA (Mar. 12, 2025),

https://www.epa.gov/newsreleases/trump-epa-kicks-formal-reconsideration-endangerment-

finding-agency-partners; see also EPA, Endangerment Finding One Pager (Mar. 2025),

https://www.epa.gov/system/files/documents/2025-03/final-pager-endangerment.pdf.




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        51.     Aside from the press release and one-pager released in March 2025, EPA and the

Agencies have not made any documents related to their assessment of and recommendations

related to the Endangerment Finding available to the public.

    B. EDF’s FOIA Request to DOI Regarding the Endangerment Finding (Request No.
       DOI-2025-003479)

        52.     EDF submitted the DOI FOIA Request to DOI on February 3, 2025, seeking all

correspondence and records of all members of the DOI transition team and all DOI political

appointees, including but not limited to fifteen specifically identified individuals, relating to the

Endangerment Finding. See Ex. A at 1-2. EDF identified eight search terms to facilitate DOI’s

search. Id. at 2.

        53.     Given fast-moving efforts by federal agencies to assess and provide

recommendations to OMB regarding the Endangerment Finding, the significant impacts to

federal pollution reduction programs if the Endangerment Finding were to be altered or

rescinded, and EDF’s strong interest in understanding and publicly sharing the basis for any

efforts to destabilize or undermine the Endangerment Finding, EDF requested expedited

processing of the DOI FOIA Request. Id. at 3-4; see also 5 U.S.C. § 552(a)(6)(E)(i)(I); 43 C.F.R.

§ 2.10, 2.20.

        54.     EDF also requested a waiver of fees associated with the DOI FOIA Request.

Ex. A at 4-5; see also 43 C.F.R. § 2.45.

        55.     The same day it submitted the DOI FOIA Request, February 3, 2025, EDF

received an email from DOI acknowledging receipt of the DOI FOIA Request. Ex. B.

        56.     On February 11, 2025, EDF received a letter from DOI (dated February 10, 2025)

assigning the DOI FOIA Request to the “normal” processing track, estimating the request would

take “six to twenty workdays to process,” and taking a ten-workday extension permitted by



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FOIA and DOI Regulations. Ex. C at 2-3. The February 10 letter granted EDF’s fee waiver

request but denied EDF’s request for expedited processing. Id.at 2, 5-6.

       57.     The February 10 letter did not inform EDF of the scope of the documents that the

agency will produce or the scope of the documents that the agency plans to withhold under any

FOIA exemptions.

       58.     The February 10 letter was not DOI’s determination on the DOI FOIA Request.

       59.     As of the date of filing this complaint, the DOI FOIA Public Access Link (PAL)

website identifies the status of the DOI FOIA Request as “In Process” and does not provide any

estimated completion date.

       60.     DOI did not provide a determination on the DOI FOIA Request within the 30

workdays permitted under the circumstances, which deadline lapsed on March 18, 2025. See 5

U.S.C. § 552(a)(6)(A)(i), (a)(6)(B)(i); 43 C.F.R. §§ 2.16(a), 2.19.

       61.     To date, DOI has not issued a determination on the DOI FOIA Request or

produced any records in response to the DOI FOIA Request.

       62.     The information sought in the DOI FOIA Request will be critical to understanding

DOI’s actions and decisions related to EPA’s assessment and reconsideration of the

Endangerment Finding and any subsequent agency action.

       63.     DOI’s failure to respond to the DOI FOIA Request within the required timeframe

has prevented EDF, its members, and the general public from being fully informed and able to

meaningfully engage on this issue.

   C. EDF’s FOIA Request to CEQ Regarding the Endangerment Finding (Request No.
      FY2025-240)

       64.     EDF submitted the CEQ FOIA Request to CEQ on February 3, 2025, seeking

correspondence and records of all members of the CEQ transition team and all CEQ political



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appointees relating to the Endangerment Finding. See Ex. D at 1-2. EDF identified eight search

terms to facilitate CEQ’s search. Id. at 2.

       65.     Given fast-moving efforts by federal agencies to assess and provide

recommendations to OMB regarding the Endangerment Finding, the significant impacts to

federal pollution reduction programs if the Endangerment Finding were to be altered or

rescinded, and EDF’s strong interest in understanding and publicly sharing the basis for any

efforts to destabilize or undermine the Endangerment Finding, EDF requested expedited

processing of the CEQ FOIA Request. Id. at 2-4; see also 5 U.S.C. § 552(a)(6)(E)(i)(I); 40

C.F.R. § 1515.7(a)(2) (2024).

       66.     EDF also requested a waiver of fees associated with the CEQ FOIA Request.

Ex. D at 4-5; see also 40 C.F.R. § 1515.15(b) (2024).

       67.     On February 11, 2025, EDF received an email from CEQ acknowledging receipt

of the CEQ FOIA Request, though the email did not provide a date of receipt. The email denied

EDF’s request for expedited processing and delayed making a fee waiver determination to a later

time. Ex. E.

       68.     The February 11 email did not inform EDF of the scope of the documents that the

agency will produce or the scope of the documents that the agency plans to withhold under any

FOIA exemptions. See Ex. E.

       69.     The February 11 email was not CEQ’s determination on the CEQ FOIA Request.

       70.     The February 11 email did not purport to extend CEQ’s deadline for issuing a

determination on the CEQ FOIA Request.




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       71.     On March 21, 2025, EDF called the phone number provided in CEQ’s February

11 email. CEQ did not answer the phone call and did not provide an estimated completion date

for the CEQ FOIA Request.

       72.     Even if CEQ did not receive the CEQ FOIA Request until February 11, CEQ did

not provide a determination on the CEQ FOIA Request within FOIA’s 20-working-day deadline,

which lapsed on March 12, 2025 at the latest. See 5 U.S.C. § 552(a)(6)(A)(i); 40 C.F.R.

§ 1515.6(a) (2024).

       73.     CEQ also did not provide EDF with notice that it was extending that deadline. See

5 U.S.C. § 552(a)(6)(B)(i); 40 C.F.R. § 1515.6 (2024).

       74.     To date, CEQ has not issued a determination on the CEQ FOIA Request or

produced any records in response to the CEQ FOIA request.

       75.     The information sought in the CEQ FOIA Request will be critical to

understanding CEQ’s actions and decisions related to EPA’s assessment and reconsideration of

the Endangerment Finding and any subsequent agency action.

       76.     CEQ’s failure to respond to the CEQ FOIA Request within the required

timeframe has prevented EDF, its members, and the general public from being fully informed

and able to meaningfully engage on this issue.

   D. EDF’s FOIA Request to NOAA Regarding the Endangerment Finding (Request No.
      DOC-NOAA-2025-000457)

       77.     EDF submitted the NOAA FOIA Request to NOAA on February 3, 2025, seeking

all correspondence and records of all members of the NOAA transition team and all NOAA

political appointees, including but not limited to one specifically identified individual, relating to

the Endangerment Finding. See Ex. F at 1-2. EDF identified eight search terms to facilitate




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NOAA’s search. Id. at 2. EDF also sought all records related to the development of any “joint

recommendations” regarding the Endangerment Finding. Id. at 1.

       78.     Given fast-moving efforts by federal agencies to assess and provide

recommendations to OMB regarding the Endangerment Finding, the significant impacts to

federal pollution reduction programs if the Endangerment Finding were to be altered or

rescinded, and EDF’s strong interest in understanding and publicly sharing the basis for any

efforts to destabilize or undermine the Endangerment Finding, EDF requested expedited

processing of the NOAA FOIA Request. Id. at 2-4; see also 5 U.S.C. § 552(a)(6)(E)(i)(I); 15

C.F.R. § 4.6(f).

       79.     EDF also requested a waiver of fees associated with the NOAA FOIA Request.

Ex. F at 5-6; see also 15 C.F.R. § 4.11(l).

       80.     The same day the NOAA FOIA Request was submitted, February 3, 2025, EDF

received two emails from NOAA acknowledging receipt of the NOAA FOIA Request and

updating the request status to “received.” Ex. G.

       81.     On March 5, 2025, twenty-one workdays after NOAA received the NOAA FOIA

Request, and a day after its statutory deadline to issue a determination on the request, EDF

received a letter from NOAA acknowledging receipt of the NOAA FOIA Request—though the

letter claimed the request was received on February 4, 2025. Ex. H at 1. The letter expressed that

NOAA would be taking a 10-workday extension of time and anticipated responding to the

NOAA FOIA Request by March 19, 2025. Id. at 1-2.

       82.     The March 5 letter did not address EDF’s request for expedited processing. See

id. The deadline for a determination on EDF’s request for expedited processing lapsed ten




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calendar days after NOAA’s receipt of the request, on February 13, 2025. See 5 U.S.C.

§ 552(a)(6)(E)(ii)(I); see also 15 C.F.R. § 4.6(f)(4).

        83.    The March 5 letter also did not address EDF’s request for a fee waiver. See Ex. H.

The deadline for a determination on EDF’s request for a fee waiver lapsed 20 workdays after

receipt of the NOAA FOIA Request, on March 4, 2025. See Pub. Citizen, Inc., 292 F. Supp. 2d

at 4.

        84.    The March 5 letter did not inform EDF of the scope of the documents that the

agency will produce or the scope of the documents that the agency plans to withhold under any

FOIA exemptions. See Ex. H.

        85.    The March 5 letter was not NOAA’s determination on the NOAA FOIA Request.

        86.    As of the date of filing this complaint, the Department of Commerce FOIA Public

Access Link (PAL) website identifies the status of the NOAA FOIA Request as “In Process” and

does not provide any estimated completion date.

        87.    Even if NOAA had timely invoked its opportunity to take a 10-workday

extension, NOAA did not provide a determination on the NOAA FOIA Request within the 30

workdays permitted under the circumstances, which deadline—properly calculated—lapsed on

March 18, 2025. See 5 U.S.C. § 552(a)(6)(A)(i), (a)(6)(B)(i); 15 C.F.R. § 4.6(b), (d).

        88.    NOAA also did not provide a determination by March 19, 2025, the date the

agency identified as the anticipated date for its response to the NOAA FOIA Request. Ex. H at 2.

        89.    To date, NOAA has not issued a determination on the NOAA FOIA Request or

produced any records in response to the NOAA FOIA request.

        90.    To date, NOAA has not issued a determination on EDF’s request for expedited

processing.




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       91.     To date, NOAA has not issued a determination on EDF’s request for a fee waiver.

       92.     The information sought in the NOAA FOIA Request will be critical to

understanding NOAA’s actions and decisions related to EPA’s assessment and reconsideration

of the Endangerment Finding and any subsequent agency action.

       93.     NOAA’s failure to respond to the NOAA FOIA Request within the required

timeframe has prevented EDF, its members, and the general public from being fully informed

and able to meaningfully engage on this issue.

                                       CLAIM FOR RELIEF

         COUNT I: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                         U.S. Department of the Interior

       94.     EDF incorporates by reference all preceding paragraphs.

       95.     Under FOIA, EDF has a statutory right to have DOI process the DOI FOIA

Request in a timely manner.

       96.     Under FOIA, EDF has a statutory right to obtain all non-exempt records

responsive to the DOI FOIA Request.

       97.     DOI failed to comply with the statutory deadline for issuing a determination on

the DOI FOIA Request. See 5 U.S.C. § 552(a)(6)(A)(i).

       98.     DOI failed to make a determination on the DOI FOIA Request from which EDF

could exercise its statutory right of appeal. See id.

       99.     DOI failed to provide a date on which it would complete action on the DOI FOIA

Request. See id. § 552(a)(7)(B)(ii).

       100.    DOI failed to timely produce all non-exempt records responsive to the DOI FOIA

Request. See id. § 552(a)(3)(A).




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       101.    Unless enjoined by this Court, DOI will continue to violate EDF’s legal rights to

timely receive a complete set of responsive documents sought through the DOI FOIA Request.

       102.    It is in the public interest for the Court to issue an injunction requiring DOI’s

immediate compliance with FOIA.

         COUNT II: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                        Council on Environmental Quality

       103.    EDF incorporates by reference all preceding paragraphs.

       104.    Under FOIA, EDF has a statutory right to have CEQ process the CEQ FOIA

Request in a timely manner.

       105.    Under FOIA, EDF has a statutory right to obtain all non-exempt records

responsive to the CEQ FOIA Request.

       106.    CEQ failed to comply with the statutory deadline for issuing a determination on

the CEQ FOIA Request. See 5 U.S.C. § 552(a)(6)(A)(i).

       107.    CEQ failed to make a determination on the CEQ FOIA Request from which EDF

could exercise its statutory right of appeal. See id.

       108.    CEQ failed to provide a date on which it would complete action on the CEQ

FOIA Request. See id. § 552(a)(7)(B)(ii).

       109.    CEQ failed to timely produce all non-exempt records responsive to the CEQ

FOIA Request. See id. § 552(a)(3)(A).

       110.    Unless enjoined by this Court, CEQ will continue to violate EDF’s legal rights to

timely receive a complete set of responsive documents sought through the CEQ FOIA Request.

       111.    It is in the public interest for the Court to issue an injunction requiring CEQ’s

immediate compliance with FOIA.




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        COUNT III: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                  National Oceanic and Atmospheric Administration

       112.    EDF incorporates by reference all preceding paragraphs.

       113.    Under FOIA, EDF has a statutory right to have NOAA process the NOAA FOIA

Request in a timely manner.

       114.    Under FOIA, EDF has a statutory right to obtain all non-exempt records

responsive to the NOAA FOIA Request.

       115.    Under FOIA, EDF has a statutory right to have NOAA make a determination on

its expedited processing request.

       116.    Under FOIA, EDF is entitled to have NOAA make a determination on its fee

waiver request.

       117.    NOAA failed to comply with the statutory deadline for issuing a determination on

the NOAA FOIA Request. See 5 U.S.C. § 552(a)(6)(A)(i).

       118.    NOAA failed to make a determination on the NOAA FOIA Request from which

EDF could exercise its statutory right of appeal. See id.

       119.    NOAA failed to timely produce all non-exempt records responsive to the NOAA

FOIA Request. See id. § 552(a)(3)(A).

       120.    NOAA failed to comply with the statutory deadline for making a determination on

EDF’s request for expedited processing. See id. § 552(a)(6)(E).

       121.    NOAA failed to comply with the legal requirement to make a determination on

EDF’s request for a fee waiver. See Pub. Citizen, Inc., 292 F. Supp. 2d at 4.

       122.    Unless enjoined by this Court, NOAA will continue to violate EDF’s legal rights

to timely receive a complete set of responsive documents sought through the NOAA FOIA

Request.



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      123.   It is in the public interest for the Court to issue an injunction requiring NOAA’s

immediate compliance with FOIA.

                                  REQUEST FOR RELIEF

      EDF requests the following relief from the Court:

      A. Declare unlawful the Agencies’ failure to provide EDF with a determination on the

          FOIA Requests within FOIA’s deadlines.

      B. Declare unlawful the Agencies’ failure to make the requested records promptly

          available to EDF.

      C. Declare unlawful NOAA’s failure to provide EDF with a determination on its

          requests for expedited processing and a fee waiver within FOIA’s deadlines.

      D. Order the Agencies to provide EDF with all responsive records immediately, at no

          charge to EDF, and in unredacted form unless an exemption is applicable and

          properly asserted.

      E. Order the Agencies to provide a Vaughn index of any responsive records or portions

          of records withheld under the claim of a FOIA exemption. See Vaughn v. Rosen, 484

          F.2d 820 (D.C. Cir. 1973).

      F. Award EDF its costs and reasonable attorney fees pursuant to 5 U.S.C.

          § 552(a)(4)(E), 28 U.S.C. § 2412, and any other applicable law.

      G. Grant any further relief as the Court deems just and proper.




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Respectfully submitted on March 24, 2025.

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